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                                             THE CITY OF NEW YORK
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                                                                     December 1, 2020

        VIA ECF
        Honorable Analisa Torres
        United States District Judge
        United States District Court
        Southern District of New York
        500 Pearl Street
        New York, New York 10007


                         Re:   David Floyd, et al. v. City of New York, 08 Civ. 1034 (AT)
                               Kelton Davis, et al. v. City of New York, et al., 10 Civ. 699 (AT)
                               Jaenean Ligon, et al. v. City of New York, et al., 12 Civ. 2274 (AT)

        Your Honor:

                       I am an Assistant Corporation Counsel in the Office of James E. Johnson,
        Corporation Counsel of the City of New York, and one of the attorneys assigned to the above-
        referenced matter on behalf of defendant City of New York (the “City”). The City writes with
        regard to the recent submissions by the Federal Monitor and the Plaintiffs concerning the New
        York City Police Department’s (“NYPD”) Internal Affairs Bureau (“IAB”) Guide No. 620-58.

                        On January 3, 2019, this Court approved and ordered adoption of an updated
        version of IAB Guide No. 620-58 recommended by the Federal Monitor. On October 26, 2020,
        the Monitor filed a new recommendation requesting that the Court approve further versions of
        IAB Guide No. 620-58, reflecting changes NYPD had already independently adopted to satisfy
        concerns raised by the plaintiffs and Monitor during review of IAB investigations. On November
        9, 2020, Plaintiffs filed a letter objecting to specific original language in the IAB Guide No. 620-
        58 which was already approved by this Court on January 3, 2019. On November 20, 2020, the
        Monitor responded to Plaintiffs’ objections.

                      After careful review of the Monitor’s November 20th response, the City writes to
        join in the Monitor’s application for approval of the revised IAB Guide as recommended by the
        Monitor. The Monitor’s November 20th submission accurately reflects the contents of the IAB
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Guide. Further, the City agrees with the Monitor that Plaintiffs’ newly proposed language is
unnecessary and would create needless confusion.

              Thus, the City respectfully requests that the Court reject Plaintiffs’ proposed
additions and approve IAB Guide No. 620-58 in the form that the Monitor recommended on
October 26, 2020.

              The City thanks the Court for its time and consideration.


                                                           Respectfully submitted,

                                                           Marissa Padovano /s/
                                                           MARISSA PADOVANO
                                                           Assistant Corporation Counsel
                                                           Special Federal Litigation Division


cc:    VIA ECF
       All Parties on Record
